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                            UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK; STATE OF ARIZONA,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF CONNECTICUT, STATE
OF DELAWARE, STATE OF HAWAII, STATE OF
ILLINOIS, STATE OF MAINE, STATE OF
MARYLAND, COMMONWEALTH OF              C.A. No. ___25-cv-001144___
MASSACHUSETTS, STATE OF MINNESOTA,
STATE OF NEVADA, STATE OF NEW JERSEY,  MOTION FOR ADMISSION
STATE OF NORTH CAROLINA, STATE OF      PRO HAC VICE
OREGON, STATE OF RHODE ISLAND, STATE
OF VERMONT, and STATE OF WISCONSIN,

              Plaintiffs,

       v.

DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

              Defendants.



                      MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the

Southern and Eastern Districts of New York, Kalikoʻonālani D. Fernandes hereby moves

this Court for an Order for admission to practice Pro Hac Vice to appear as counsel for

Plaintiff State of Hawaii in the above-captioned action.

       I am in good standing of the bar of the State of Hawaii, and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been
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convicted of a felony. I have never been censured, suspended, disbarred or denied

admission or readmission by any court. I have attached the affidavit pursuant to Local

Rule 1.3.

Dated: February 26, 2025                 Respectfully Submitted,


                                         /s/ Kalikoʻonālani D. Fernandes
                                         KALIKOʻONĀLANI D. FERNANDES
                                         Department of the Attorney General
                                         State of Hawaii
                                         425 Queen Street
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                                         Attorney for Plaintiff State of Hawaii




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